              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
                                 )
UNITED STATES OF AMERICA,        )
          Plaintiff,             )
                                 )
V.                               )     Case No. 12-00291-CR-W-GAF
                                 )
                                 )
VICTOR VICKERS                   )
          Defendant.             )


                                MOTION TO EXCLUDE
                           CO-CONSPIRATOR’S STATEMENTS

       COMES NOW, Victor Vickers, Defendant, by and through his undersigned Attorney of

Record, William David Langston of Langston Law, Chartered, and pursuant to Fed. R. Evid.

801(d)(2)(E), requests this Court issue its Order granting Defendant’s Motion to Exclude Co-

Conspirator’s Statements. In support of Defendant’s motion the following is offered:

       1.     The Indictment in this case alleges that Defendant conspired with others to

              distribute marijuana;

       2.     The Government contends that it will attempt to introduce at trial statements of

              individuals that Defendant allegedly conspired with. However, a statement

              cannot provide the sole evidentiary support for its own admissibility. United

              States v. Roach, 164 F.3d 403, 412 (8th Cir.1998). The Court must be satisfied

              that there was an agreement by Defendant and his alleged co-conspirators to

              commit and illegal act. The Court must also be satisfied that the co-conspirators

              were connected to the agreement, before determining whether any of their

              statements are admissible;




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3.   A co-conspirator’s statement is admissible under Fed. R. Evid. 801(d)(2)(E) to

     show a defendant’s participation in the conspiracy. To be admissible, the

     Government must demonstrate (1) that a conspiracy existed; (2) that the defendant

     and the declarant were members of the conspiracy; and (3) that the declaration

     was made during the course and in furtherance of the conspiracy. Fed. R. Evid.

     801(d)(2)(E). The admissibility of an alleged co-conspirator’s statement is a

     preliminary question for the judge, not the jury, to decide. Fed. R. Evid. 104,

     United States v. Bell, 573 F.2d 1040, 1044 (8th Cir.1978). This requires the

     government to prove three essential elements by a preponderance of the evidence

     before a co-conspirator’s statement is admitted; (1) the existence of a conspiracy;

     (2) the declarant and the “non-offering” party [Defendant] are involved in the

     conspiracy; and (3) the statements are made during the course of and in

     furtherance of the conspiracy. Bourjaily v. United States, 483 U.S. 171,

     175(1987);

4.    Although a pretrial evidentiary hearing is not mandated, such hearing is

     requested in the instant case because of the number of statements involved. See

     United States v. James, 590 F2d 575 (5th Cir. 1979), (suggesting that a pretrial

     termination is appropriate). Without a pretrial hearing on the admission of the

     statements, a tremendous amount of court time will be used which will disrupt an

     orderly presentation of the trial;

5.   One of the factors the Eighth Circuit looks to in determining the reliability of a

     co-conspirator’s statement for purposes of Fed. R. Evid. 801(d)(2)(E) is the




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               content of the statement, and whether it was corroborated by independent

               evidence. United States v. Manfre, 368 F3d 832 (8th Circ. 2004);

       6.      Statements or admissions made by a co-conspirator after apprehension, to law

               enforcement officials, are not “in furtherance” of the conspiracy. A co-

               conspirator’s post arrest, custodial statements are not intended to further a

               successful conspiracy and thus are not admissible as a co-conspirator’s statements

               under Fed. R. Evid. 801(d)(2)(E). United States v. Rashid, 383 F3d 769, 775 (8th

               Cir. 2004);

       7.      A statement that simply informs the listener of the declarant’s criminal activities

               is not made in furtherance of the conspiracy. While merely informative

               statements and statements made simply to impress the listener are not generally in

               furtherance of the conspiracy, statements that discuss the supply source for the

               illegal drugs or identify a co-conspirator’s role in the conspiracy are considered

               statements made “in furtherance” of the conspiracy. United States v. Ragland,

               555 F3d 706, 715 (8th Circ. 2009).

       8.      This request is not made for undo delay or vexatious reasons;

       9.      The Interest’s of Justice will be served by granting this continuance.

       WHEREFORE, Defendant prays this Honorable Court issue its Order granting

Defendant’s Motion to Exclude Co-Conspirator’s Statements or, in the alternative, to schedule a

pretrial hearing on the Motion.



                                              Respectfully Submitted,

                                              /s/ William David Langston
                                              Missouri Bar No. 33021




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         I hereby certify that on August 11, 2014, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to the Assistant United States Attorney.

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